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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

 FREDERICK WESTBROOK,                             )
                                                  )
                 Plaintiff,                       )
                                                  )
          v.                                      )          No. 4:23-CV-01291-NCC
                                                  )
 MISSY LICKTEIG, J. CHRISTY, and                  )
 STL TODAY,                                       )
                                                  )
                 Defendants.                      )

                                MEMORANDUM AND ORDER

       This matter is before the Court upon review of self-represented plaintiff’s complaint. The

complaint is defective because it has not been drafted on a Court-provided form. See E.D. Mo.

L.R. 2.06(A) (“All actions brought by self-represented plaintiffs or petitioners should be filed on

Court-provided forms”). Additionally, plaintiff’s motion to proceed without prepayment of the

filing fee and costs has not been drafted on a Court-provided form. See 28 U.S.C. § 1915(a).

       Accordingly,

       IT IS HEREBY ORDERED that the Clerk is directed to mail to plaintiff (1) a copy of the

Court’s prisoner civil rights complaint form and (2) a copy of the application to proceed in district

court without prepaying fees or costs.

       IT IS FURTHER ORDERED that plaintiff must either pay the $402 filing fee or submit

the form application to proceed in district court without prepaying fees or costs within twenty-one

(21) days of the date of this Order.

       IT IS FURTHER ORDERED that plaintiff must file an amended complaint on the Court-

provided form within twenty-one (21) days of the date of this Order.
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       IT IS FURTHER ORDERED if plaintiff fails to comply with this Order, the Court will

dismiss this action without prejudice and without further notice to plaintiff.

       Dated this 17th day of October, 2023.




                                                  NOELLE C. COLLINS
                                                  UNITED STATES MAGISTRAGE JUDGE




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